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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



TIKTOK INC., et al.,

                         Plaintiffs,

          v.                                            Case No. 20-cv-02658 (CJN)

JOSEPH R. BIDEN, JR., in his official capacity
as President of the United States, et al.,

                         Defendants.




                                       JOINT STATUS REPORT

          Pursuant to the Court’s January 13, 2021 Minute Order, the parties have met and conferred

regarding a schedule for further proceedings in this action, and hereby submit this joint status

report.

          As discussed in prior filings, see ECF Nos. 61 and 64, the parties have continued to confer

in an effort to eliminate or narrow disputes regarding the appropriate scope of the record in advance

of the filing of dispositive motions. While those discussions were ongoing, Defendants’ counsel

informed Plaintiffs’ counsel regarding the following developments: As the Biden Administration

has taken office, the Department of Commerce has begun a review of certain recently issued

agency actions, including the Secretary’s prohibitions regarding the TikTok mobile application at

issue in this case. In relation to those prohibitions, the Department plans to conduct an evaluation

of the underlying record justifying those prohibitions. The government will then be better

positioned to determine whether the national security threat described in the President’s August 6,

2020 Executive Order, and the regulatory purpose of protecting the security of Americans and

their data, continue to warrant the identified prohibitions. The Department of Commerce remains
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committed to a robust defense of national security as well as ensuring the viability of our economy

and preserving individual rights and data privacy.

       Because a review of the prohibitions at issue here may narrow the issues presented or

eliminate the need for judicial review entirely, and to allow new agency officials sufficient time to

become familiar with the issues in this case and to allow the agency to adequately consider the

issues presented in this case, the Government filed motions to hold in abeyance both the ongoing

appeals before the D.C. Circuit of the preliminary injunctions previously entered by this Court.

See TikTok Inc. v. Biden, No. 20-5302 (D.C. Cir.); TikTok Inc. v. Biden, No. 20-5381 (D.C. Cir.).

Those motions were unopposed by Plaintiffs.

       For the same reasons that the Government requested that the ongoing appeals be held in

abeyance, Defendants’ position is that it likewise makes sense to stay further proceedings before

this Court based on the above developments. Plaintiffs agree that, so long as the D.C. Circuit

appeals are held in abeyance, district court proceedings should also be held in abeyance.

       Accordingly, the parties jointly propose that the pending deadlines in this matter be stayed,

with a further joint status report due in 60 days, i.e., on April 12, 2021. In the event that the D.C.

Circuit declines to hold the ongoing appeals in abeyance, the parties will further confer and file,

within seven days of that decision, a joint status report setting forth their position(s) on a schedule

for further proceedings in this action.



DATED: February 11, 2021                       Respectfully submitted,

                                                /s/ John E. Hall               .

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